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               Exhibit 7.2
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         Infringement Claim Chart for U.S. Pat. No. US10237420B1 v. Youtube (“Defendant”)
   Claims                                               Evidence

20. A method    The Youtube platform with system-generated Searching Service performs a method of
of processing   processing requests.
requests,       For Example, Youtube Searching Service receive user request, process them, and provides
comprising:     needed information right at the system. So, it helps you find what you're looking for and
                stay in control of what you see.




                Source:    https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/search/
                #trusted-results




                Source: https://developers.google.com/youtube/v3/docs/search




                Source: https://developers.google.com/youtube/v3/sample_requests




                                                 1
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Source: https://www.youtube.com/results?search_query=Routing




Source: https://www.youtube.com/results?search_query=Routing




Source: https://developers.google.com/youtube/v3/guides/implementation/search



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                  Source: https://developers.google.com/youtube/v3/sample_requests

estimating at     The Youtube platform with system-generated Searching Service estimates at least one
least       one   content-specific or requestor-specific characteristic associated with each received request.
content-          For Example, Youtube estimates at least one content-specific (i.e., search query parameters
specific          (what the user looking for)) or requestor-specific (user's intent) characteristic associated
or requestor-     with each received request.
specific
characteristic
associated with
each received
request;




                  Source: https://www.youtube.com/results?search_query=Routing

                                                    3
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                    Source: https://developers.google.com/youtube/v3/guides/implementation/search




                    Source: https://developers.google.com/youtube/v3/guides/implementation/search




                    Source: https://developers.google.com/youtube/v3/guides/implementation/search

determining         The Youtube platform with system-generated Searching Service determines a set of
availability of a   available
plurality      of   alternate target resources, each having at least one respective target characteristic.
alternate targe     For Example, YouTube uses natural language understanding technologies to understand
t resources,        what is being requested and on the basis of this, determine resources (content) on the
each                characteristic such as current availability and query matching of the resources.
respective targ
et resource


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having at least
one
respective targ
et characteristi
c;




                   Source: https://www.youtube.com/results?search_query=Routing




                   Source: https://developers.google.com/youtube/v3/docs/search




                   Source: https://developers.google.com/youtube/v3/docs/search




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                Source: https://developers.google.com/youtube/v3/docs/search




                Source: https://developers.google.com/youtube/v3/docs/search




                Source: https://developers.google.com/youtube/v3/sample_requests


evaluating,   The Youtube platform with system-generated Searching Service evaluates, with
with at least the automated processor, a plurality of alternate allocations of the respective received

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one automated       request with different available targets, according to a ranking dependent on
processor,      a   a probabilistic predictive multivariate evaluator, based on the at least one content-specific
plurality      of   or requestor-specific characteristic, and the respective target characteristics of the plurality
alternate           of alternate target resources.
allocations of      For Example, YouTube uses the content-specific or requestor-specific characteristics of the
the respective      request and the availability and characteristics parameters of the target resources to
received            evaluate a plurality of alternate allocations of the respective received request with different
request     with    available resources via artificial intelligence techniques such as neural networks and
different           machine learning.
available targe
ts, according to
a        ranking
dependent on
a probabilistic
predictive mult
ivariate evalua
tor, based on
the at least
one     content-
specific
                    Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/search/
or requestor-
specific
characteristic,
and          the
respective targ
et characteristi
cs     of    the
plurality      of
alternate targe
t resources;
and



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Source: https://www.analyticssteps.com/blogs/how-youtube-using-artificial-intelligence




Source: https://www.analyticssteps.com/blogs/how-youtube-using-artificial-intelligence




Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/search/

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Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list




Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list




Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list




Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list


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                    Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list




                    Source: https://www.any-api.com/googleapis_com/youtube/docs/search/youtube_search_list

generating          The Youtube platform with system-generated Searching Service generates a control signal,
a control signal    by the automated processor, selectively dependent on the evaluating, to control the
, by the at         allocations of the respective received request with the different available targets.
least               For Example, responsive to the evaluation, Youtube generates a control signal for
one automated       the allocation of the different available resources. The control signal is selectively
processor,          dependent on the evaluation in view of other factors such as the overall throughput of the
selectively         system and the priority and requirements of other concurrent requests.
dependent on
the evaluating,
to control the
allocations of
the respective
received
request      with
the     different

                                                     10
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available targe
ts.




                  Source: https://developers.google.com/youtube/terms/developer-policies




                  Source: https://developers.google.com/youtube/v3/docs/search




                  Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/search/




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Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/search/




Source: https://www.analyticssteps.com/blogs/how-youtube-using-artificial-intelligence




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